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   Paul J. Fishman
   ARNOLD & PORTER KAYE SCHOLER LLP
   One Gateway Center, Suite 1025
   Newark, NJ 07102
   (973) 776-1901
   paul.fishman@arnoldporter.com

   Attorney for Proposed Amici Curiae
   Giffords Law Center to Prevent Gun Violence,
   Brady Center to Prevent Gun Violence, and March for Our Lives

                      UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF NEW JERSEY

    ASSOCIATION OF NEW JERSEY
    RIFLE & PISTOL CLUBS, INC., et
    al.,
              Plaintiffs,
                                              HON. PETER G. SHERIDAN
    v.
    MATTHEW J. PLATKIN, in his                      Civil Action No.
    official capacity as Acting Attorney             3:18-cv-10507
    General of New Jersey, et al.,
                 Defendants.

    MARK CHEESEMAN, et al.,
                 Plaintiffs,                    HON. RENEE M. BUMB
    v.
                                                    Civil Action No.
    MATTHEW J. PLATKIN, in his                       1:22-cv-04360
    official capacity as Acting Attorney
    General of New Jersey, et al.,
                 Defendants.

    BLAKE ELLMAN et al.,
                 Plaintiffs,                  HON. PETER G. SHERIDAN
    v.
                                                    Civil Action No.
    MATTHEW J. PLATKIN, in his                       3:22-cv-04397
    official capacity as Acting Attorney
    General of New Jersey, et al.,
                 Defendants.
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               CERTIFICATION OF PAUL J. FISHMAN
          IN SUPPORT OF APPLICATION FOR PRO HAC VICE
        ADMISSION OF AARON R. MARCU AND JENNIFER LOEB

   I, Paul J. Fishman, certify:

         1.     I am a partner in the law firm of Arnold & Porter Kaye Scholer LLP,

   counsel of record for proposed amici curiae Giffords Law Center to Prevent Gun

   Violence, Brady Center to Prevent Gun Violence, and March for Our Lives in

   this action, and am a member of the Bar of this Court.

         2.     I submit this Certification pursuant to Local Civil Rule 101.1(c) in

   support Aaron R. Marcu’s and Jennifer Loeb’s applications for pro hac vice

   admission in this action.

         3.     If the Court grants our applications for Mr. Marcu’s and Ms. Loeb’s

   admission pro hac vice, I will continue to serve as counsel of record in this matter;

   will review and sign all pleadings, briefs, and other papers filed with the Court;

   will make all Court appearances; will be responsible for the conduct of this action

   and for the conduct of all attorneys admitted pro hac vice; and will otherwise

   comply will all of the terms and conditions of Local Civil Rule 101.1(c).

         Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that this

   Certification is true and correct.


    Dated: November 10, 2023            Respectfully submitted,
           Newark, NJ
                                        /s/ Paul J. Fishman
                                        Paul J. Fishman
                                        ARNOLD & PORTER KAYE SCHOLER LLP
                                        One Gateway Center, Suite 1025
                                        Newark, NJ 07102

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                                    (973) 776-1901
                                    paul.fishman@arnoldporter.com

                                    Attorney for Proposed Amici Curiae
                                    Giffords Law Center to Prevent Gun Violence,
                                    Brady Center to Prevent Gun Violence, and
                                    March for Our Lives




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